      Case 2:15-cv-01828-GEB-CKD Document 1 Filed 08/31/15 Page 1 of 10


 1   Christopher W. Sweeney (SBN 143217)
     LAW OFFICES OF CHRISTOPHER W. SWEENEY
 2   1300 Oliver Road, Suite 300
     Fairfield, CA 94534
 3   Telephone: (707) 435-1244
     Facsimile: (707) 435-1245
 4   Email: cwslaw@comcast.net

 5   Attorney for Plaintiff
     E.B. STONE & SON, INC.,
 6   a California corporation

 7

 8                                 UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA
10                                         SACRAMENTO DIVISION

11                                                      ***

12   E.B. STONE & SON, INC., a California                )        Case No.
     corporation                                         )
13                                                       )        COMPLAINT FOR:
                     Plaintiff,                          )        (1) BREACH OF CONTRACT;
14                                                       )        (2) FRAUD AND INTENTIONAL
             vs.                                         )
15                                                       )            MISREPRESENTAION;
     YEAMAN MACHINE TECHNOLOGIES,                        )        (3) COMMON COUNTS-OPEN
16   INC., and DOES 1 through 50, inclusive,             )            BOOK;
                                                         )        (4) COMMON COUNTS-MONEY HAD
17                           Defendants.                 )            AND RECEIVED; and
                                                         )        (5) QUANTUM MERUIT-UNJUST
18                                                                    ENRICHMENT
19
                                                                     DEMAND FOR JURY TRIAL
20           COMES NOW Plaintiff, E.B. STONE & SON, INC. (hereinafter “Plaintiff” or “E.B.
21   STONE”) and alleges against Defendant YEAMAN MACHINE TECHNOLOGIES (hereinafter
22   “Defendant” or “YEAMAN”) as follows:
23                                      JURISDICTION AND VENUE
24          1.      This court has original jurisdiction over the parties to this action under 28 U.S.C.
25   Section 1332, in that it is a civil action between citizens of different states in which the matter in
26   controversy exceeds, exclusive of costs and interests, seventy-five thousand dollars ($75,000.00).
27   Venue is proper in this judicial district under 28 U.S.C. Section 1391(b)(2) as the district in which a
28   substantial part of the events giving rise to the claims occurred.
                                                         1
                                                      Complaint
      Case 2:15-cv-01828-GEB-CKD Document 1 Filed 08/31/15 Page 2 of 10


 1                                                 PARTIES
 2          2.      Plaintiff, E.B. STONE & SON, INC., is, and at all times herein mentioned was, a
 3   corporation organized and existing under the laws of the State of California, with its principal place
 4   of business located within the State of California, County of Solano, City of Fairfield. Plaintiff is a
 5   merchant engaged in the business of the manufacture, distribution and sale of custom formulated
 6   plant foods, lawn foods, organic soils and soil amendments, among other products.
 7          3.      Plaintiff is informed and believes and based thereon alleges that Defendant
 8   YEAMAN is and at all times herein mentioned was, a corporation organized and existing under the
 9   laws of the State of Illinois, doing business within the State of California, County of Solano by,
10   among other things, contracting for the sale, shipment and delivery of its products to Plaintiff’s
11   manufacturing facility located in Solano County, California. Defendant is a merchant engaged in
12   the business of, among other things, the manufacture and packaging equipment and related products
13   for sale to, and use by commercial manufacturers in packaging their products for sale to consumers
14   throughout the United States. Plaintiff is informed and believes that Defendant YEAMAN purports
15   to consummate sales of its products throughout the United States, including California.
16                                      NATURE OF THE ACTION
17          4.      On or about November 22, 2013, Defendant YEAMAN contracted for the sale,
18   shipment and delivery of product packaging equipment and related products to Plaintiff’s
19   manufacturing facility located in Solano County, California for Plaintiff’s use in packaging
20   Plaintiff’s plant and lawn foods and related products for sale to Plaintiff’s customers (“the
21   Contract”). Pursuant to the Contract, Plaintiff paid Defendant YEAMAN a fifty percent (50%)
22   deposit for the promised equipment which was never delivered by Defendant. Despite Plaintiff’s
23   repeated requests and demands therefor, Defendant has failed to refund the sums paid by Plaintiff
24   for the equipment resulting in damages to Plaintiff in an amount to be determined at trial according
25   to proof, and reasonably estimated to be in excess of $75,000.00, plus accruing interest.
26                                      GENERAL ALLEGATIONS
27          5.      Plaintiff is a manufacturer and distributor of custom formulated plant foods, lawn
28   foods, organic soils and soil amendments, among other products, from its manufacturing facilities

                                                        2
                                                     Complaint
      Case 2:15-cv-01828-GEB-CKD Document 1 Filed 08/31/15 Page 3 of 10


 1   located in Fairfield, California. Plaintiff is informed and believes and based thereon alleges that at
 2   all relevant times herein mentioned, defendant YEAMAN was engaged in the business of, among
 3   other things, the manufacture of packaging equipment and related products for sale to, and use by
 4   commercial manufacturers in packaging their products for sale to consumers throughout the United
 5   States.
 6             6.    On or about November 22, 2013, Defendant YEAMAN contracted for the sale,
 7   shipment and delivery of product packaging equipment and related products to Plaintiff’s
 8   manufacturing facility located in Solano County, California for Plaintiff’s use in packaging
 9   Plaintiff’s plant and lawn foods and related products for sale to Plaintiff’s customers. A true and
10   correct copy of the Contract, memorialized in a written invoice dated November 22, 2013, is
11   attached as Exhibit “A” to this complaint. Pursuant to the Contract, 50% of the Contract price was
12   due in advance, with the balance of the Contract price payable upon delivery and installation of the
13   equipment. On or about December 5, 2013, Plaintiff paid Defendant YEAMAN a fifty percent
14   (50%) deposit for the promised equipment. Pursuant to the Contract, the equipment was to be
15   delivered within twelve (12) weeks of the November 22, 2013, invoice date. Notwithstanding
16   repeated promises to do so, Defendant YEAMAN never delivered the equipment required to be
17   delivered to Plaintiff’s facility in Solano County, California and Plaintiff had no alternative but to
18   cancel the order and request a refund. Despite Plaintiff’s repeated requests and demands therefor,
19   Defendant has failed to refund the sums paid by Plaintiff for the equipment resulting in damages to
20   Plaintiff in an amount to be determined at trial according to proof, and reasonably estimated to be in
21   excess of $75,000.00, plus accruing interest.
22                                      FIRST CLAIM FOR RELIEF
23                                           (Breach of Contract)
24             7.    Plaintiff realleges and incorporates paragraphs 1 through 6, inclusive, as though fully
25   set forth herein.
26             8.    On or about November 22, 2013, plaintiff and defendants YEAMAN entered into the
27   Contract as hereinabove alleged.
28             9.    Plaintiff has fully performed all of the conditions, covenants and promises required

                                                        3
                                                     Complaint
          Case 2:15-cv-01828-GEB-CKD Document 1 Filed 08/31/15 Page 4 of 10


 1   by it to be performed in accordance with the terms and conditions of the Contract, except to the
 2   extent performance was prevented by YEAMAN. Plaintiff paid Defendant YEAMAN a fifty
 3   percent (50%) deposit for the promised equipment which was to be delivered by Defendant within
 4   twelve (12) weeks of the November 22, 2013, invoice date. Notwithstanding repeated promises to
 5   do so, Defendant YEAMAN never delivered the equipment required to be delivered to Plaintiff’s
 6   facility in Solano County, California and Plaintiff had no alternative but to cancel the order and
 7   request a refund. Despite Plaintiff’s repeated requests and demands therefor, Defendant has failed
 8   to refund the sums paid by Plaintiff for the equipment. YEAMAN is in breach of its obligations
 9   under the Contract with plaintiff for failure to deliver the equipment as and when promised, and the
10   failure to refund the sums paid by Plaintiff.
11             10.     As a direct and proximate result of YEAMAN’s breach of the Contract as
12   hereinabove alleged, plaintiff has suffered damages in the amount of $72,125.00, plus accruing
13   interest at the legal rate of ten percent (10%) per annum from February 23, 2013 until paid in full.
14                                      SECOND CLAIM FOR RELIEF
15                                 (Fraud and Intentional Misrepresentation)
16               11.     Plaintiff realleges and incorporates by reference paragraphs 1 through 10 of this
17   complaint as though fully set forth herein.
18               12.     In connection with the execution of the Contract described above, and with the
19   intent to induce plaintiff to enter into the Contract and pay the equipment deposit to YEAMAN
20   pursuant to the terms of the Contract, defendant YEAMAN represented to plaintiff that it would
21   timely deliver the equipment as and when required by the Contract.
22               13.     Plaintiff is informed and believes, and based thereon alleges, that the
23   representations made by YEAMAN were in fact false, deceptive and misleading in that, at the time
24   YEAMAN executed the Contract, and at the time YEAMAN accepted payment of the equipment
25   deposit, YEAMAN had no intention of timely delivering, or ever delivering the equipment to
26   Plaintiff, or ever refunding to Plaintiff the equipment deposit paid by Plaintiff pursuant to the
27   Contract.
28   //

                                                         4
                                                      Complaint
       Case 2:15-cv-01828-GEB-CKD Document 1 Filed 08/31/15 Page 5 of 10


 1              14.     At the time YEAMAN made the representations described in paragraph 15 above,
 2   it knew them to be false, and the representations were made with the intent to defraud plaintiff and
 3   to induce plaintiff to enter into the Contract.
 4              15.     At the time the representations were made by YEAMAN, and at the time plaintiff
 5   entered into the Contract, plaintiff was ignorant of the falsity of YEAMAN's representations and
 6   believed them to be true, and was ignorant of the fact that YEAMAN had no intention of timely
 7   delivering, or ever delivering the equipment to Plaintiff, or ever refunding to Plaintiff the equipment
 8   deposit paid by Plaintiff pursuant to the Contract. In reliance on these representations, Plaintiff was
 9   induced to, and did in fact, enter into the Contract and paid the equipment deposit to YEAMAN
10   pursuant to its terms. Had plaintiff known YEAMAN's representations were false, plaintiff would
11   not have entered into the Contract or delivered the equipment deposit to YEAMAN pursuant
12   thereto. Plaintiff's reliance on YEAMAN's representations was justifiable in that YEAMAN was in
13   the most favorable position to ascertain the truth or falsity of said representations.
14              16.     As a direct and proximate result of YEAMAN's fraud and deceit herein described,
15   plaintiff was induced to, and did in fact, enter into the Contract and has suffered damages as
16   hereinabove alleged.
17              17.     The acts of YEAMAN described herein were willful, fraudulent, malicious and
18   oppressive and in conscious disregard of the rights of plaintiff and were taken with knowledge that
19   such acts would cause harm to plaintiff. Plaintiff is therefore entitled to exemplary and punitive
20   damages.
21                                      THIRD CLAIM FOR RELIEF
22                                 (Common Counts – Open Book Account)
23              18.     Plaintiff realleges and incorporates paragraphs 1 through 17, inclusive, as though
24   fully set forth herein.
25              19.     Since February 23, 2013, defendants YEAMAN became indebted to plaintiff on
26   an open book account for money due in the amount of $72,125.00, plus accruing interest at the legal
27   rate of ten percent (10%) per annum from February 23, 2013 until paid in full.
28              20.     Neither the whole nor any part of this sum has been paid, although demand

                                                          5
                                                       Complaint
       Case 2:15-cv-01828-GEB-CKD Document 1 Filed 08/31/15 Page 6 of 10


 1   therefor has been made, and there is now due, owing and unpaid the amount of $72,125.00, plus
 2   accruing interest at the legal rate of ten percent (10%) per annum from February 23, 2013 until paid
 3   in full.
 4                                    FOURTH CLAIM FOR RELIEF
 5                             (Common Counts – Money Had and Received)
 6              21.     Plaintiff realleges and incorporates paragraphs 1 through 17, inclusive, as though
 7   fully set forth herein.
 8              22.     Since February 23, 2013, defendants YEAMAN became indebted to plaintiff for
 9   money had and received by defendant YEAMAN in the amount of $72,125.00 which sum was
10   advanced to defendant YEAMAN on or about December 5, 2013.
11              23.     Neither the whole nor any part of this sum has been paid, although demand
12   therefor has been made, and there is now due, owing and unpaid the amount of $72,125.00, plus
13   accruing interest at the legal rate of ten percent (10%) per annum from February 23, 2013 until paid
14   in full.
15                                      FIFTH CLAIM FOR RELIEF
16                                 (Quantum Meruit – Unjust Enrichment)
17              24.     Plaintiff realleges and incorporates paragraphs 1 through 17, inclusive, as though
18   fully set forth herein.
19              25.     Within the last two years, Defendant YEAMAN has become indebted to Plaintiff
20   in the principal sum of $72,125.00, plus accruing interest at the legal rate of ten percent (10%) per
21   annum from February 23, 2013, until paid in full, for an equipment deposit paid by Plaintiff to
22   defendant YEAMAN for equipment that was never delivered to Plaintiff. After credits properly
23   due, the sum of $72,125.00, plus accruing interest at the legal rate of ten percent (10%) per annum
24   from February 23, 2013, until said sum is paid in full, constitutes the reasonable value of the funds
25   delivered by Plaintiff for which a refund has never been made. Despite repeated demands,
26   Defendant YEAMAN has deliberately failed to refund the equipment deposit paid by Plaintiff.
27              26.     As a direct and proximate result of the deliberate failure of Defendant YEAMAN
28   to refund the equipment deposit paid by Plaintiff, Defendant YEAMAN has been unjustly enriched

                                                        6
                                                     Complaint
       Case 2:15-cv-01828-GEB-CKD Document 1 Filed 08/31/15 Page 7 of 10


 1   and Plaintiff has been correspondingly harmed and damaged as herein alleged in the sum of
 2   $72,125.00, plus accruing interest at the legal rate of ten percent (10%) per annum from February
 3   23, 2013, until said sum is paid in full.
 4                                          PRAYER FOR RELIEF
 5      WHEREFORE, plaintiff prays for judgment against Defendant as follows:
 6                                               First Claim for Relief
 7            1.     For compensatory damages in an amount to be determined at trial, which Plaintiff
 8   reasonably estimates will be in excess of $75,000.00;
 9            2.     For costs of suit herein incurred; and
10            3.     For such other and further relief as the court may deem just and proper.
11                                          Second Claim for Relief
12            1.     For compensatory damages in an amount to be determined at trial, which Plaintiff
13   reasonably estimates will be in excess of $75,000.00;
14            2.     For exemplary and punitive damages in an amount according to proof at the time of
15   trial;
16            3.     For costs of suit herein incurred; and
17            4.     For such other and further relief as the court may deem just and proper.
18                                           Third Claim for Relief
19            1.     For compensatory damages in an amount to be determined at trial, which plaintiff
20   reasonably estimates will be in excess of $75,000.00;
21            2.     For costs of suit herein incurred; and
22            3.     For such other and further relief as the court may deem just and proper.
23                                          Fourth Claim for Relief
24            1.     For compensatory damages in an amount to be determined at trial, which plaintiff
25   reasonably estimates will be in excess of $75,000.00;
26            2.     For costs of suit herein incurred; and
27            3.     For such other and further relief as the court may deem just and proper.
28

                                                           7
                                                        Complaint
      Case 2:15-cv-01828-GEB-CKD Document 1 Filed 08/31/15 Page 8 of 10


 1                                          Fifth Claim for Relief
 2          1.      For compensatory damages in an amount to be determined at trial, which plaintiff
 3   reasonably estimates will be in excess of $75,000.00;
 4          2.      For costs of suit herein incurred; and
 5          3.      For such other and further relief as the court may deem just and proper.
 6          Dated: June 19, 2015           LAW OFFICES OF
                                           CHRISTOPHER W. SWEENEY
 7

 8                                                 /s/ Christopher W. Sweeney
                                           By:
 9                                                Christopher W. Sweeney
                                                  Attorney for Plaintiff
10                                                E.B. STONE & SON, INC.
11
                                       DEMAND FOR JURY TRIAL
12
            Plaintiff hereby demands a jury trial as provided by Rule 38(a) of the Federal Rules of
13
     Civil Procedure.
14
            Dated: June 19, 2015           LAW OFFICES OF
15                                         CHRISTOPHER W. SWEENEY
16
                                                   /s/ Christopher W. Sweeney
17                                         By:
                                                  Christopher W. Sweeney
18                                                Attorney for Plaintiff
                                                  E.B. STONE & SON, INC.
19

20

21

22

23

24

25

26

27

28

                                                       8
                                                    Complaint
Case 2:15-cv-01828-GEB-CKD Document 1 Filed 08/31/15 Page 9 of 10




                EXHIBIT “A”
 (Yeaman Machine Technologies Invoice)
Case 2:15-cv-01828-GEB-CKD Document 1 Filed 08/31/15 Page 10 of 10
